    Case 1:20-cr-00330-AJN Document 17 Filed 07/08/20 Page 1 of 18




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                    X


 UNITED STATES OF AMERICA                  SUPERSEDING INDICTMENT

                - v. -                     Sl 20 Cr. 330 (AJN)

 GHISLAINE MAXWELL,

                Defendant.

                                    X


                              COUNT ONE
         (Conspiracy to Entice Minors to Travel to Engage in
                          Illegal Sex Acts)

           The Grand Jury charges:

                                OVERVIEW

           1.      The charges set forth herein stem from the role

of GHISLAINE MAXWELL, the defendant, in the sexual exploitation

and abuse of multiple minor girls by Jeffrey Epstein.           In

particular, from at least in or about 1994, up to and including

at least in or about 1997, MAXWELL assisted, facilitated, and

contributed to Jeffrey Epstein's abuse of minor girls by, among

other things, helping Epstein to recruit, groom, and ultimately

abuse victims known to MAXWELL and Epstein to be under the age

of 18.   The victims were as young as 14 years old when they were

groomed and abused by MAXWELL and Epstein, both of whom knew

that certain victims were in fact under the age of 18.

           2.      As a part and in furtherance of their scheme to

abuse minor victims, GHISLAINE MAXWELL, the defendant, and

Jeffrey Epstein enticed and caused minor victims to travel to
    Case 1:20-cr-00330-AJN Document 17 Filed 07/08/20 Page 2 of 18




Epstein's residences in different states, which MAXWELL knew and

intended would result in their grooming for and subjection to

sexual abuse.     Moreover, in an effort to conceal 0er crimes ,

MAXWELL repeatedly lied when questioned about her conduct,

including in relation to some of the minor victims described

herein, when providing testimony under oath in 2016.

                          FACTUAL BACKGROUND

          3.      During the time periods charged in this

Indictment, GHISLAINE MAXWELL, the defendant, had a personal and

professional relationship with Jeffrey Epstein and was among his

closest associates.     In particular, between in or about 1994 and

in or about 1997, MAXWELL was in an intimate relationship with

Epstein and also was paid by Epstein to manage his various

properties.     Over the course of their relationship, MAXWELL and

Epstein were photographed together on multiple occasions,

including in the below image:




                                    2
    Case 1:20-cr-00330-AJN Document 17 Filed 07/08/20 Page 3 of 18

                              ,,


            4.    Beginning in at least 1994, GHISLAINE MAXWELL,

the defendant, enticed and groomed multiple minor girls to

engage in sex acts ~ith Jeffrey Epstein, through a variety of

means and methods, including but not limited to the following:

                  a.   MAXWELL first attempted to befriend some of

Epstein's minor victims prior to their abuse, including by

asking the victims about their lives, their schools, and their

families.   MAXWELL and Epstein would spend time building

friendships with minor victims by , for example, taking minor

victims to the movies or shopping.       Some of these outings would

involve MAXWELL and Epstein spending time together with a minor

victim, while some would involve MAXWELL or Epstein spending

time alone with a minor victim.

                  b.   Having developed a rapport with a victim,

MAXWELL would try to normalize sexual abuse for a minor victim

by, among other things , discussing sexual topics, undressing in

front of the victim, being present when a minor victim was

undressed, and/or being present for sex acts involving the minor

victim and Epstein.

                  c.   MAXWELL'S presence during minor victims'

interactions with Epstein, including interactions where the

minor victim was undressed or that involved sex acts with

Epstein, helped put the victims at ease because an adult woman

was present.     For example, in some instances, MAXWELL would



                                    3
    Case 1:20-cr-00330-AJN Document 17 Filed 07/08/20 Page 4 of 18




massage Epstein in front of a minor victim.         In other instances,

MAXWELL encouraged minor victims to provide massages to Epstein,

including sexualized massages during which a minor victim would

be fully or partially nude.      Many of those massages resulted in

Epstein sexually abusing the minor victims.

                  d.   In addition , Epstein offered to help some

minor victims by paying for travel and/or educational

opportunities , and MAXWELL encouraged certain victims to accept

Epstein's assistance.     As a result, victims were made to feel

indebted and believed that MAXWELL and Epstein were trying to

help them.

                  e.   Through this process, MAXWELL and Epstein

enticed victims to engage in sexual activity with Epstein.           In

some instances, MAXWELL was present for and participated in the

sexual abuse of minor victims.      Some such incidents occurred in

the context of massages, which developed into sexual encounters.

             5.   GHISLAINE MAXWELL, the defendant, facilitated

Jeffrey Epstein's access to minor victims knowing that he had a

sexual preference for underage girls and that he intended to

engage in sexual activity with those victims .        Epstein's

resulting abuse of minor victims included, among other things,

touching a victim's breast, touching a victim ' s genitals,

placing a sex toy such as a vibrator on a victim's genitals,




                                    4
    Case 1:20-cr-00330-AJN Document 17 Filed 07/08/20 Page 5 of 18




directing a victim to touch Epstein while he masturbated, and

directing a victim to touch Epstein's genitals.

                       MAXWELL AND EPSTEIN'S VICTIMS

             6.   Between approximately in or about 1994 and in or

about 1997, GHISLAINE MAXWELL, the defendant, facilitated

Jeffrey Epstein's access to minor victims by, among other

things, inducing and enticing, and aiding and abetting the

inducement and enticement of, multiple minor victims.           Victims

were groomed and/or abused at multiple locations, including the

following:

                  a.    A a multi-story private residence on the

Upper East Side of Manhattan, New York owned by Epstein (the

"New York Residence"), which is depicted in the following

photograph:




                                    5
    Case 1:20-cr-00330-AJN Document 17 Filed 07/08/20 Page 6 of 18




                b.    An estate in Palm Beach, Florida owned by

Epstein (the "Palm Beach Residence"), which is depicted in the

follo~ing photograph:




                c.    A ranch in Santa Fe, New Mexico owned by

Epstein (the "New Mexico Residence") , which is depicted in the

following photograph:




                                    6
    Case 1:20-cr-00330-AJN Document 17 Filed 07/08/20 Page 7 of 18




                  d.   MAXWELL'S personal residence in London,

England.

             7.   Among the victims induced or enticeq by GHISLAINE

MAXWELL, the defendant, were minor victims identified herein as

Minor Victim-1, Minor Victim-2, and Minor Victim-3.           In

particular, and during time periods relevant to this Indictment,

MAXWELL engaged in the following acts, among others, with

respect to minor victims:

                  a.   MAXWELL met Minor Victim-1 when Minor

Victim-1 was approximately 14 years old.        MAXWELL subsequently

interacted with Minor Victim-1 on multiple occasions at

Epstein's residences, knowing that Minor Victim-1 was under the

age of 18 at the time.     During these interactions, which took

place between approximately 1994 and 1997, MAXWELL groomed Minor

Victim-1 to engage in sexual acts with Epstein through multiple

means .    First, MAXWELL and Epstein attempted to befriend Minor

Victim-1, taking her to the movies and on shopping trips.

MAXWELL also asked Minor Victim- 1 about school, her classes, her

family, and other aspects of her life.        MAXWELL then sought to

normalize inappropriate and abusive conduct by, among other

things, undressing in front of Minor Victim-1 and being present

when Minor Victim-1 undressed in front of Epstein.          Within the

first year after MAXWELL and Epstein met Minor Victim-1, Epstein

began sexually abusing Minor Victim-1.        MAXWELL was present for



                                    7
     Case 1:20-cr-00330-AJN Document 17 Filed 07/08/20 Page 8 of 18




and involved in some of this abuse.         In particular, MAXWELL

involved Minor Victim-1 in group sexualized massages of Epstein.

During those group se~ualized massages, MAXWELL and/or Minor

Victim-1 would engage in sex acts with Epstein.           Epstein and

MAXWELL both encouraged Minor Victim-1 to travel to Epstein's

residences in both New York and Florida.         As a result, Minor

Victim-1 was sexually abused by Epstein in both New York and

Florida.    Minor Victim-1 was enticed to travel across state

lines for the purpose of sexual encounters with Epstein, and

MAXWELL was aware that Epstein engaged in sexual activity with

Minor Victim-1 after Minor-Victim-1 traveled to Epstein's

properties, including in the context of a sexualized massage.

                 b.    MAXWELL interacted with Minor Victim- 2 on at

least one occasion in or about 1996 at Epstein's residence in

New Mexico when Minor Victim-2 was under the age of 18.               Minor

Victim-2 had flown into New Mexico from out of state at

Epstein's invitation for the purpose of being groomed for and/or

subjected to acts of sexual abuse .       MAXWELL knew that Minor

Victim- 2 was under the age of 18 at the time.         While in New

Mexico, MAXWELL and Epstein took Minor Victim-2 to a movie and

MAXWELL took Minor Victim-2 shopping.        MAXWELL also discussed

Minor Victim-2's school, classes, and family with Minor Victim-

2.   In New Mexico, MAXWELL began her efforts to groom Minor

Victim-2 for abuse by Epstein by, among other things, providing



                                     8
    Case 1:20-cr-00330-AJN Document 17 Filed 07/08/20 Page 9 of 18




an unsolicited massage to Minor Victim-2, during which Minor

Victim- 2 was topless.     MAXWELL also encouraged Minor Victim-2 to

massage Epstein.

                   c.   MAXWELL groomed and befriended Minor

Victim-3 in London, England between approximately 1994 and 1995,

including during a period of time in which MAXWELL knew that

Minor Victim-3 was under the age of 18.        Among other things,

MAXWELL discussed Minor Victim-3's life and family with Minor

Victim-3.    MAXWELL introduced Minor Victim-3 to Epstein and

arranged for multiple interactions between Minor Victim-3 and

Epstein.    During those interactions, MAXWELL encouraged Minor

Victim-3 to massage Epstein, knowing that Epstein would engage

in sex acts with Minor Victim-3 during those massages.           Minor

Victim- 3 provided Epstein with the requested massages, and

during those massages, Epstein sexually abused Minor Victim-3.

MAXWELL was aware that Epstein engaged in sexual activity with

Minor Victim-3 on multiple occasions , including at times when

Minor Victim- 3 was under the age of 18, including in the context

of a sexualized massage.

                 MAXWELL'S EFFORTS TO CONCEAL HER CONDUCT

            8.     In or around 2016, in the context of a deposition

as part of civil litigation, GHISLAINE MAXWELL, the defendant,

repeatedly provided false and perjurious statements, under oath,

regarding, among other subjects, her role in facilitating the



                                    9
   Case 1:20-cr-00330-AJN Document 17 Filed 07/08/20 Page 10 of 18




abuse of minor victims by Jeffrey Epstein, including some of the

specific events and acts of abuse detailed above.

                          STATUTORY ALLEGATIONS

             9.    From at least in or about 1994, up to and

including in or about 1997, in the Southern District of New York

and elsewhere, GHISLAINE MAXWELL, the defendant, Jeffrey

Epstein, and others known and unknown, willfully and knowingly

did combine, conspire, confederate, and agree together and with

each other to commit an offense against the United States, to

wit, enticement, in violation of Title 18, United States Code,

Section 2422.

             10.   It was a part and object of the conspiracy that

GHISLAINE MAXWELL, the defendant, Jeffrey Epstein, and others

known and unknown, would and did knowingly persuade, induce,

entice, and coerce one and more individuals to travel in

interstate and foreign commerce, to engage in sexual activity

for which a person can be charged with a criminal offense, in

violation of Title 18, United States Code, Section 2422.

                               Overt Acts

             11.   In furtherance of the conspiracy and to effect

the illegal object thereof, the following overt acts, among

others, were committed in the Southern District of New York and

elsewhere:




                                   10
   Case 1:20-cr-00330-AJN Document 17 Filed 07/08/20 Page 11 of 18




                a.    Between in or about 1994 and in or about

1997, when Minor Victim-1 was under the age of 18, MAXWELL

participated in multiple gr9up sexual encounters with Epstein

and Minor Victim-1 in New York and Florida.

                b.    In or about 1996, when Minor Victim-1 was

under the age of 18, Minor Victim-1 was enticed to travel from

Florida to New York for purposes of sexually abusing her at the

New York Residence, in violation of New York Penal Law, Section

130.55.

                c.    In or about 1996, when Minor Victim-2 was

under the age of 1 8, MAXWELL provided Minor Victim-2 with an

unsolicited massage in New Mexico, during which Minor Victim-2

was topless.

                d.    Between in or about 1994 and in or about

1995, when Minor Victim-3 was under the age of 18, MAXWELL

encouraged Minor Victim-3 to provide massages to Epstein in

London, England, knowing that Epstein intended to sexually abuse

Minor Victim-3 during those massages.

           (Title 18, United States Code, Section 371 .)

                            COUNT TWO
 (Enticement of a Minor to Travel to Engage in Illegal Sex Acts)

          The Grand Jury further charges :

          12.   The allegations contained in paragraphs 1

through 8 of this Indictment are repeated and realleged as if

fully set forth within.


                                   11
   Case 1:20-cr-00330-AJN Document 17 Filed 07/08/20 Page 12 of 18




          13.   From at least in or about 1994, up to and

including in or about 1997, in the Southern District of New York

and elsewhere, GHISLAINE MAXWELL, the defendant, knowingly did

persuade, induce, entice, and coerce an individual to travel in

interstate and foreign commerce to engage in sexual activity for

which a person can be charged with a criminal offense, and

attempted to do the same, and aided and abetted the same, to

wit, MAXWELL persuaded, induced, enticed, and coerced Minor

Victim-1 to travel from Florida to New York, New York on

multiple occasions with the intention that Minor Victim-1 would

engage in one or more sex acts with Jeffrey Epstein, in

violation of New York Penal Law, Section 130.55.

       (Title 18, United States Code, Sections 2422 and 2.)

                           COUNT THREE
          (Conspiracy to Transport Minors with Intent to
               Engage in Criminal Sexual Activity)

          The Grand Jury further charges:

          14.   The allegations contained in paragraphs 1

through 8 of this Indictment are repeated and realleged as if

fully set forth within.

          15.   From at least in or about 1994, up to and

including in or about L997, in the Southern District of New York

and elsewhere, GHISLAINE MAXWELL, the defendant, Jeffrey

Epstein, and others known and unknown, willfully and knowingly

did combine, conspire, confederate, and agree together and with

each other to commit an offense against the United States, to

                                   12
   Case 1:20-cr-00330-AJN Document 17 Filed 07/08/20 Page 13 of 18




wit, transportation of minors, in violation of Title 18, United

States Code, Section 2423(a).

             16.   It was a part and object of ~he conspiracy that

GHISLAINE MAXWELL, the defendant, Jeffrey Epstein, and others

known and unknown, would and did, knowingly transport an

individual who had not attained the age of 18 in interstate and

foreign commerce, with intent that the individual engage in

sexual activity for which a person can be charged with a

criminal offense, in violation of Title 18, United States Code,

Section 2423(a).

                               Overt Acts

             17.   In furtherance of the conspiracy and to effect

the illegal object thereof, the following overt acts, among

others, were committed in the Southern District of New York and

elsewhere:

                   a.   Between in or about 1994 and in or about

1997, when Minor Victim-1 was under the age of 18, MAXWELL

participated in multiple group sexual encounters with EPSTEIN

and Minor Victim-1 in New York and Florida.

                   b.   In or about 1996, when Minor Victim-1 was

under the age of 18, Minor Victim-1 was enticed to travel from

Florida to New York for purposes of sexually abusing her at the




                                   13
   Case 1:20-cr-00330-AJN Document 17 Filed 07/08/20 Page 14 of 18




New York Residence, in violation of New York Penal Law, Section

130.55.

                 c.      In or about 1996, when Minor Victim-2 was

under the age of 18, MAXWELL provided Minor Victim-2 with an

unsolicited massage in New Mexico, during which Minor Victim-2

was topless.

                 d.     Between in or about 1994 and in or about

1995, when Minor Victim-3 was under the age of 18, MAXWELL

encouraged Minor Victim-3 to provide massages to Epstein in

London, England,      knowing that Epstein intended to sexually abuse

Minor Victim-3 during those massages.

           (Title 18, United States Code, Section 371.)

                               COUNT FOUR
               (Transportation of a Minor with Intent to
                  Engage in Criminal Sexual Activity)

          The Grand Jury further charges:

          18.    The allegations contained in paragraphs 1

through 8 of this Indictment are repeated and realleged as if

fully set forth within.

          19.    From at least in or about 1994, up to and

including in or about 1997, in the Southern District of New York

and elsewhere, GHISLAINE MAXWELL, the defendant, knowingly did

transport an individual who had not attained the age of 18 in

interstate and foreign commerce, with the intent that the

individual engage in sexual activity for which a person can be

charged with a criminal offense, and attempted to do so, and

                                    14
   Case 1:20-cr-00330-AJN Document 17 Filed 07/08/20 Page 15 of 18


                                   r




aided and abetted the same, to wit, MAXWELL arranged for Minor

Victim-1 to be transported from Florida to New York , New York on

multiple occasions with the intention that Minor Victim-1 wovld

engage in one or more sex acts with Jeffrey Epstein,         in

violation of New York Penal Law, Section 1 30.55.

     (Title 18, United States Code , Sections 2423(a) and . 2 .)

                               COUNT FIVE
                                (Perjury)

          The Grand Jury further charges:

          20.   The allegations contained in paragraphs 1

through 8 of this Indictment are repeated and realleged as if

fully set forth within .

          21.   On or about April 22 , 2016, in the Southern

District of New York, GHISLAINE MAXWELL, the defendant, having

taken an oath to testify truthfully in a deposition in

connection with a case then pendihg before the United States

District Court for the Southern District of New York under

docket number 15 Civ. 7433,    knowingly made false material

declarations, to wit, MAXWELL gave the following underlined

false testimony:

          Q.    Did Jeffrey Epstein have a scheme to recruit
                underage girls for sexual massages? If you know.

          A.    I don't know what you're talking about.




                                   15
    Case 1:20-cr-00330-AJN Document 17 Filed 07/08/20 Page 16 of 18




           Q.     List all the people under the age of 18 that you
                  interacted with at any of Jeffrey's properties?

           A.     I'm not aware of anybody that I interacted with,
                  other than obviovsly [the plaintiff] who was 17
                  at this point .

           (Title 18, United States Code , Section 1623.)

                                COUNT SIX
                                (Perjury)

           The Grand Jury further charges :

           22 .   The allegations contained in paragraphs 1

through 8 of this Indictment are repeated and realleged as if

fully set forth within.

           23.    On or about July 22 , 2016 , in the Southern

District of New York, GHI SLAINE MAXWELL, the defendant, having

taken an oath to testify truthfully in a deposition in

connect i on with a case then pending before the United States

District Court for the Southern District of New York under

docket number 15 Civ. 7433,     knowingly made false material

declarations, to wit, MAXWELL gave the following underlined

false testimony:

          Q:      Were you aware of the presence of sex toys or
                  devices used in sexua l activities in Mr.
                  Epstein's Palm Beach house?

          A:      No, not that I recall.


          Q.      Do you know whether Mr. Epstein possessed sex
                  toys or devices used in sexual activities?

          A.      No.



                                   16
Case 1:20-cr-00330-AJN Document 17 Filed 07/08/20 Page 17 of 18


                            '   '




       Q.    Other than yourself and the blond and brunette
             that you have identified as having been involved
             in three-way sexual activities, with whom did Mr.
             Epstein have sexual activities?

       A.    I wasn't aware that he was having sexual
             activities with anyone when I was with him other
             than myself.

       Q.    I want to be sure that I'm clear.  Is it your
             testimony that in the 1990s and 2000s, you were
             not aware that Mr. Epstein was having sexual
             activities with anyone other than yourself and
             the blond and brunette on those few occasions
             when they were involved with you?

       A.    That is my testimony, that is correct .




       Q.    Is it your testimony that you've never given
             anybody a massage?

       A.    I have not given anyone a massage.

       Q.    You never gave Mr. Epstein a massage,        is that
             your testimony?

       A.    That is my testimony .

       Q.    You never gave [Minor Victim-2] a massage is your
             testimony?

       A.    I never gave [Minor Victim-2] a massage.

        (Title 18, United States Code , Section 1623.)




                                               RAUSS
                                              nited States Attorney


                                    17
Case 1:20-cr-00330-AJN Document 17 Filed 07/08/20 Page 18 of 18




         Form No. USA-33s-274      (Ed. 9-25-58)



            UNITED STATES DISTRICT COURT
           SOUTHERN DISTRICT OF NEW YORK


               UNITED STATES OF AMERICA

                             v.
                                                                  1~
                    GHISLAINE MAXWELL,

                                          Defendant.


                SUPERSEDING INDICTMENT

                    Sl 20 Cr. 330 (AJN)

      (18 U. S.C.   §§   371, 1623, 2422, 2423 (a),
                           and 2)

                  AUDREY STRAUSS
           Acting United States Attorney




         ;;7             Fore~son




                             18
